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UNITED Smsifa@ni WF¢@EJRT
DISTRICT OF MASSACHUSETTS

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, x , \ ,04-11743NMG
aa annum CUURI
BISTRIE:T UF MA§S.

ELLA M. GRAHAM )
Plaintiff )

)

v. )
)

ROBERT ROLLINS )
Defendant )

)

And )
)

THOMAS I)AY, SR., )
Trustee Defendant )

I)EFENDANT, ROBERT ROLLINS’ AND TRUSTEE DEFENDANT,
THOMAS DAY. JR.’S. ANSWER TO PLAINTIFF’S COMPLAINT
AND COUNTERCLAIM

Now come the Defendants, Robert Rollins, and Thomas Day, Jr., Trustee Defendant,
and Answer Plaintiff’ s Complaint as follows:

l. The Defendants are Without sufficient information to either admit or deny the
allegations contained in Paragraph 1 of PlaintifF s Complaint.

2. Fl`he Defendants admit the allegations contained in Paragraph 2 of Plaintiff’ s
Complaint, except the Defendants deny the address

3. The Defendants admit the allegations contained in Paragraph 3 of Plaintifi’s
Complaint, except that the Trustee Defendant is Thomas Day, Jr.

4. The Defendants are without sufficient information to either admit or deny the
allegations contained in Paragraph 4 of Plaintiff’ s Complaint, except the
Defendant Rollins admits that the Plaintiff Was asked to help the Defendant on a
temporary basis.

5. The Defendants deny the allegations contained in Paragraph 5 of Plaintiff’s
Complaint.

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The Defendants deny the allegations contained in Paragraph 6 of Plaintiff’s
Complaint.

The Defendants deny the allegation contained in Paragraph 7 of Plaintiff’ s
Complaint, except the Defendants are without sufficient information to either
admit or deny that the Plaintiff continued to work for Gentiva on other matters.

The Defendants deny the allegations contained in Paragraph 8 of Plaintist
Complaint, except that the Plaintiff did submit time sheets to CPM and checks
were made payable to the Plaintiff from the Defendant Rollins.

'1` he Defendants deny the allegations contained in Paragraph 9 of Plaintiff`s
Complaint.

The Defendants deny the allegations contained in Paragraph 10 of Plaintiff"s
Complaint,

The Defendants deny the allegations contained in Paragraph 11 of Plaintiff"s
Complaint.

The Defendants deny the allegations contained in Paragraph 12 of Plaintiff’ s
Complaint, except that Exhibit A is a will, which speaks for itself Further, the
Defendants are without sufficient information to either admit or deny what “the
Plaintiff" s understanding” Was.

'_l`he Defendants deny the allegations contained in Paragraph 13 of Plaintiff` s
Complaint, except the Defendants are Without sufficient information to either
admit or deny as to any expenses paid by the Plaintiff. Further, the Defendant
Rollins admits that the Plaintiff moved into a separate apartment owned by him,
next door to him, in approximately July 2000 and denies “Plaintiff was required”.

The Defendants deny the allegations contained in Paragraph 14 of Plaintiff’s
Complaint, except the Defendant Rollins admits that he has had medical concerns
and incontinence.

'l_`he Defendants deny the allegations contained in Paragraph 15 of Plaintiff"s
Complaint, except the Trustee Defendant discussed with the Defendant Rollins his
options, including selling the house.

The Defendants deny the allegations contained in Paragraph 15 of Plaintiff` s
Complaint, except the Defendant Rollins discussed with the Plaintiff his options,
including selling the house and relocating locally or to Florida.

The Defendants deny the allegations contained in Paragraph 17 of Plaintist
Complaint, except the Defendant Rollins admits that the Plaintiff continually

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pressured him to sign his real estate over to the Plaintiff and further admits that
both Plaintiff and Defendant Rollins looked at homes in the area.

The Defendants deny the allegations contained in Paragraph 18 of Plaintiffs
Complaint, except the Defendants are Without sufficient information to either
admit or deny that there was a doctor’s order not to drink alcohol.

The Defendants deny the allegations contained in Paragraph 19 of Plaintiff’s
Complaint, except the Defendant Rollins admits that he was a collector of guns
and that at various times he had guns and ammunition on the property. Further,
the Defendants are without sufficient information to either admit or deny what the
Plaintiff “believed”.

The Defendants admit the allegations contained in Paragraph 20 of Plaintiff`s
Complaint, except the Defendants are without sufficient information to either
admit or deny what year this occurred and why they took such action.

The Defendants deny the allegations contained in Paragraph 21 of Plaintiff"s
Complaint, except that the Defendants admit that the Defendant retained Attomey
Edward George and that the letter marked as Exh_ibit B speaks for itself. The
Defendant further admits that his guns were locked in a safe in the hall and that
there Was ammunition at his home and that from time to time the Defendant
Rollins was allowed to hold his unloaded guns. Further, the Defendants are
without sufficient information as to admit or deny what the Plaintiff thought her
responsibility was_

The Defendants deny the allegations contained in Paragraph 22 of Plaintist
Compiaint.

The Defendants deny the allegations contained in Paragraph 23 of Plaintiff` s
Complaint, except that the Defendant Rollins was upset at the Plaintiff but for
other reasons. Further, the Defendant Rollins admits that he ordered the Plaintiff
to leave his property.

The Defendants deny the allegations contained in Paragraph 24 of Plaintiffs
Complaint.

'l`he Defendants admit the allegations contained in Paragraph 25 of Plaintiff`s
Complaint.

'Fhe Defendants are without sufficient information to either admit or deny the

allegations contained in Paragraph 26 ofPlaintiff’s Complaint, as it is unclear what
“proceeds” means in this context

'Fhe Defendants deny the allegations contained in Paragraph 27 of Plaintiff’s
Complaint.

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The Defendants restate and reaver their answers to Paragraphs 1-27 of Plaintiff"s
Complaint.

The Defendants deny the allegations contained in Paragraph 29 of Plaintiff’s
Complaint.

The Defendants deny the allegations contained in Paragraph 30 of Plaintiff’ s
Complaint.

The Defendants restate and reaver their answers to Paragraphs 1-30 of Plaintiff s
Complaint.

The Defendants deny the allegations contained in Paragraphs 32 of Plaintiffs
Complaint.

The Defendants deny the allegations contained in Paragraph 33 ofPlaintif`f" s
Complaint.

The Defendants deny the allegations contained in Paragraph 34 of Plaintiffs’
Complaint.

The Defendants deny the allegations contained in Paragraph 35 of Plaintiff s
Complaint.

The Defendants restate and reaver their answers to Paragraphs 1~35 of Plaintiff s
Complaint,

The Defendants deny the allegations contained in Paragraph 37 of Plaintiff"s
Complaint.

The Defendants deny the allegations contained in Paragraph 38 of Plaintifi’s
Complaint.

The Defendants restate and reaver their answers to Paragraphs 1-38 of Plaintiff s
Complaint,

"l`he Defendants deny the allegations contained in Paragraph 40 ofPlaintiff’s
Complaint.

ll`he Defendants deny the allegations contained in Paragraph 41 of Plaintiff’s
Complaint,

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FIRST AFFIRMATIVE DEFENSE

l. The complaint must be dismissed pursuant to Mass. R. Civ. P. 12(b)(6), as it fails to state
a claim upon which relief can be granted

SECOND AFFIRMATIVE DEFENSE

2. The Plaintiff is barred from recovery by reason of estoppel.

THIRD AFFIRMATIVE DEFENSE

3. By her actions, the Plaintiff has waived any claims, which she has in this matter set forth
in the Complaint.

FOURTH AFFIRMA'I`IVE DEFENSE

4. The claims set forth in the complaint are barred by the statute of limitations

FIF'I`H AFFIRMATIVE DEFENSE

5. The complaint must be dismissed since any damages suffered by the Plaintiff was as a
result of their own actions or of some third party, not the fault of the Defendants

SIXTH AFFIRMATIVE I)EFENSE

6. The claims of the Plaintiff are barred by Plaintiff’ s failure to mitigate her damages

SEVENTH AFFIRMATIVE DEFENSE
7. The complaint must be dismissed pursuant to Mass. `R. Civ. P. l2(b)(2) and 12(b)(5) as
there is no personal jurisdiction and there was insufficient service of process.
EIGHTH AFFIRMATIVE DEFENSE
8. Some or all of Plaintiff’ s claims are barred under the doctrine of ratification
NINTH AFFIRMATIVE DEFENSE

9. Some or all of Plaintiff"s claims are subject to the defenses of setoff andfor
recoupment

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TENTH AFFIRMATIVE DEFENSE
At all relevant times, the Defendants acted in good faith.
ELEVENTH AFFIRMATIVE DEFENSE
Some or all of Plaintif`f"s claims are barred because she has acted in bad faith.
TWELFTH AFFIRMATIVE DEFENSE
Some or all of Plaintiff s claims are limited by contributory negligence.
THIRTEENTH AFFIRMATIVE DEFENSE

Some or all of Plaintiff’ s claims are barred under the doctrine of unclean hands.

FOURTEENTH AFFIRMATIVE DEFENSE
Some or all of Plaintiff"s claims are barred by virtue of her own breach of fiduciary
duty.
FIF'I`EENTH AFFIRMATIVE DEFENSE

Plaintiff lacks standing to assert some or all of her claims.

SIXTEENTH AFFIRMATIVE DEFENSE

The Defendants reserve the right to assert additional defenses, as they become known
through the course of discovery.

COUNTERCLAIM

As and for his Counterclaim against Ella Graham, Robert Rollins alleges as follows:

l.

Plaintiff in Counterclaim, Robert Rollins., is an individual who resides in Florida
(hereinafter referred to as “Rollins”).

Defendant in Counterclaim, Ella Graham, is an individual upon information and belief
residing at 20 Narragansett Boulevard, F air Haven, Massachusetts (hereinafter referred
to as “Graham”).

Rollins was formerly the owner of property located in Wareham, Massachusetts
comprised of two separate living areas (hereinaHer the “Property”).

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Rollins has suffered from medical ailments, Which have been previously diagnosed as
Parkinson’s disease.

From approximately 1999 until May 2004, Graharn was employed by Rollins to
provide care and services for him.

For approximately the same period of time, Graham’s daughter, Paula Gillette, was
employed by Rollins to provide care and services for him.

After each bi-weekly period, Graham and Paula Gillette submitted their time cards for
service performed

Each bi-weekly period Rollins delivered to Graham and Paula Gi.llette a check, which
included standard withholdings, together with a pay stub for the hours of service
billed.

From approximately July 2000 until late May 2004, Graham occupied the separate
apartment owned by Rollin.

The property included a water view and beach access, all of which was made available
to Graham during her exclusive use and occupation of the apartment

The apartment had a fair market rental value.

Graham never paid Rollins the fair market value rental for her exclusive use and
occupancy of the apartment.

On numerous occasions, Graham, despite her compensation, pressured Rollins to
convey the real estate that he received by inheritance to her.

Graham, on numerous occasions, attempted to take advantage of Rollins’ debilitated
medical condition

Despite the compensation paid by Rollins to Grahamw Graham’s care for Rollins was

sub-standard, such that Rollins did not receive the level of care for which he had paid
Graham.

COUNT I
BREACH OF CONTRACT

Rollins reavars and restates Paragraphs 1 -15 of his Counterclaim

Graham breached her contract with Rollins by providing sub-standard care for Rollins.

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COUNT II
BREACH OF CONTRACT

Rollins reavers and restates Paragraphs 1-17 of his Counterclaim

Graharn failed to pay Rollins the fair market rental value for the exclusive use

and occupancy of the apartment from July 2000 until late May 2004.
C()UNT lII

QUANTUM MERUIT

Rollins reavers and restates Paragraphs 1-19 of his Counterclaim.

Graham failed to pay Rollins the fair market rental value for the exclusive use

and occupancy of the apartment from luly 2000 until late l\/lay 2004.
COUNT IV

INTENTIONAL AFFLICTION OF EMOTIONAL DISTRESS

Rollins reavers and restates Paragraphs 1-21 of his Counterclaim.

Graham has engaged in intentional conduct over the years to take advantage of
Rollins’ debilitative medical condition so as to cause Rollins to suffer physical

harm.

Graham has engaged in intentional conduct over the years to take advantage of
Rollins’ debilitative medical condition to attempt to take advantage of Rollins
financially

WHEREFORE, the Defendants respectfully request that this court:

l) Dismiss the Plaintiff`s Complaint,

2) Enter a judgment for the Defendants with respect to the Plaintiff" s Complaint;

3) Enter a ludgment for the Plaintiff-in-Counterclaim for monetary damages
against the Defendant-in-Counterclaim;

4) assess attorney’s fees against the Plaintiff and Defendant in Counterclaim;

5) grant any other relief deemed meet andjust.

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THE DEFENDANTS DEMAND TRIAL BY JURY
ON SUCH COUNTS SO TRIABLE

Respectfully submitted
The Defendants
By their attorney

?C%

Robert C. La\biéss,

BBO #288890

Lawless & Lawless P.C.

3166 Main Street

P.O. Box 1165l

Barnstable, Massachusetts 02630
(508) 362-9666

Dated‘. September 23, 2004

CERTIFICATE OF SERVICE

l, Robert C. Lawless, Esq., hereby certify that 1 served the within document on the
opposing counsel of record, via first class mail, postage prepaid, this 23rd day of September

2004. /%9[)%`

Robert C. l%wless, Esq.

